              Case 2:18-cr-00422-DJH Document 801 Filed 11/11/19 Page 1 of 3




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 7   Attorneys for Defendant Michael Lacey
 8
                              IN THE UNITED STATES DISTRICT COURT
 9                                FOR THE DISTRICT OF ARIZONA
10

11   United States of America,                       NO. CR-18-00422-PHX-SMB

12                       Plaintiff,                  NOTICE OF ERRATA TO MOTION TO
     vs.                                             SUPPRESS, FILED OCTOBER 18, 2019
13
                                                     (Doc. 778)
14   Michael Lacey, et al.,

15                     Defendants.
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20          Movant Michael Lacey, by and through his undersigned counsel, hereby files this Notice
21   of Errata. On October 18, 2019, Michael Lacey filed, among other things, a Motion to Suppress.
22   (Doc. 778.) After submitting to the Court, undersigned counsel identified that the motion
23   invadvertently did not include appropriate attachments for Exhibit E and Exhibit F.
24          Attached hereto as Exhibit 1 is Exhibit E to the Motion to Suppress.
25          Attached hereto as Exhibit 2 is Exhibit F to the Motion to Suppress.
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           Case 2:18-cr-00422-DJH Document 801 Filed 11/11/19 Page 2 of 3




 1
     DATED: November 11, 2019    Erin E. McCampbell
 2
                                 Paul J. Cambria, Jr.
 3                               LIPSITZ GREEN SCIME CAMBRIA LLP
 4                               By:   /s/ Erin E. McCampbell
 5                                     Erin E. McCampbell
                                       Paul J. Cambria, Jr.
 6                                     Attorneys for Michael Lacey
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     On November 11, 2019, a PDF version
 2   of this document was filed with
 3   Clerk of the Court using the CM/ECF
     System for filing and for Transmittal
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